                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                      3:08cr134


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                       ORDER
                                         )
ALEJANDRO UMANA (2)                      )
________________________________________ )




        THIS MATTER is before the Court on motion of the defendant to declare him ineligible for the

death penalty based on mental retardation, (Doc. No. 690), and his supporting memorandum, (Doc.

No. 750). For the reasons that follow, the Court finds that the defendant has not established by a

preponderance of the evidence that he is mentally retarded; therefore, the motion will be denied.

I.      BACKGROUND

        The defendant is charged with capital offenses among various charges relating to an alleged

RICO conspiracy involving the MS-13 gang. (Doc. No. 275: Notice).1 However, a death sentence

may not be carried out on a mentally retarded person. 18 U.S.C. § 3596(c). Based on the defendant’s

motion to determine whether he is mentally retarded prior to trial, the Court held an evidentiary hearing




        1
          The precipitating murders charged in the indictment allegedly occurred in a restaurant in
Greensboro, North Carolina, on December 8, 2007, after which the defendant allegedly fled to
Charlotte, North Carolina, with the assistance of MS-13 gang members. (Doc. No. 623: Indictment at
¶ 23(kk)).


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on November 30, 2009.2

        The defendant called three expert witnesses at the hearing: Dr. John Olley, Dr. Ricardo

Weinstein, and Dr. James Merikangas. Dr. Olley is a psychologist licensed in North Carolina who

focused on the defendant’s adaptive abilities.3 (Tr. 5; Def. Ex. 1).4 Dr. Olley interviewed the defendant

in jail and interviewed family members, a school official, former employers, and friends of the defendant

in El Salvador with the assistance of an interpreter. (Tr. 39; Def. Ex. 2). Dr. Weinstein is a psychologist

licensed in California who performed intelligence testing on the defendant.5 (Tr. 144, 153; Def. Ex. 13

and 14). Dr. Merikangas is a medical doctor licensed in Maryland, with certifications in psychiatry and

neurology, who conducted a neurological examination of the defendant and interpreted a radiological

scan of the defendant’s brain.6 (Tr. 261, 265, 270, Def. Ex. 15 and 16).

        The government called Dr. Enrique Suarez, a psychologist licensed in Florida who conducted

intelligence testing on the defendant and also focused on the defendant’s adaptive abilities.7 (Tr. 286;


        2
          Courts have determined that pretrial hearings are in the interest of judicial economy. United
States v. Davis, 611 F. Supp. 2d 472, 474 (D. Md. 2009) (collecting cases).
        3
           Dr. Olley stated he had testified approximately 16 times in state or federal court, always on
behalf of a defendant, except in 1 state case. (Tr. 80).
        4
            The transcript of the hearing is filed at Doc. No. 932.
        5
         Dr. Weinstein stated he had testified in over 100 cases. (Tr. 152). In cases involving the
death penalty, he had always testified on behalf of a defendant. (Tr. 188).
        6
           Dr. Merikangas estimated that he had testified more than a dozen times in federal court,
including at least 1appearance on behalf of the government. (Tr. 264).
        7
          Dr. Suarez estimated that he had testified in over 900 cases in state and federal court,
appearing approximately 650 times for the defendant and nearly 200 times for the government. All of
his approximately 5 appearances in federal court had been on behalf of the government. (Tr. 287-288).

                                                       2


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Gov’t Ex. A2). Dr. Suarez interviewed the defendant and three officers who had interacted with him in

jail. (Tr. 291; Gov’t Ex. A3). During the hearing, the Court received exhibits, including the reports,

curriculum vitae, and electronic presentations of the witnesses, as well as letters and other

communications of the defendant.

II.      DISCUSSION

         A.      Legal Standard

         In Atkins v. Virginia, 536 U.S. 304, 321 (2002), the Supreme Court held that the Eighth

Amendment prohibits imposing the death penalty on mentally retarded persons. In referencing clinical

definitions of mental retardation, the Supreme Court recognized they require “not only significant

limitations in intellectual functioning, but also significant limitations in adaptive skills, such as

communication, self-care, and self-direction that became manifest before age 18.” Id. at 318. The

definitions of mental retardation by the American Association on Mental Retardation (AAMR)8 and the

American Psychiatric Association (APA) were mentioned in a footnote, Id. at 309 n.3.

         The AAMR’s definition provides that:

         Mental retardation relates to substantial limitations in present functioning. It is
         characterized by significantly subaverage intellectual functioning, existing concurrently
         with related limitations in two or more of the following applicable adaptive skill areas:
         communication, self-care, home living, social skills, community use, self-direction, health
         and safety, functional academics, leisure, and work. Mental retardation manifests before
         age 18.

AAMR, Mental Retardation: Definition, Classification, and Systems of Supports 5 (9th ed. 2002).


         8
            This organization is now called the American Association on Intellectual and Developmental
Disabilities (AAIDD). A new edition of the organization’s manual was published in 2010, but the
defendant does not contend the definition has been substantively revised. (Olley, Tr. 16-17).

                                                          3


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         The APA’s definition states that:

         The essential feature of Mental Retardation is significantly subaverage general
         intellectual functioning (Criterion A) that is accompanied by significant limitations in
         adaptive functioning in at least two of the following skill areas: communication, self-care,
         home living, social/interpersonal skills, use of community resources, self-direction,
         functional academics, work, leisure, health, and safety (Criterion B). The onset must
         occur before age 18 years (Criterion C).

American Psychiatric Association, Diagnostic and Statistical Manual of Mental Disorders 41 (4th ed.

2000).

         B.      Factual Findings

                 1.      Intellectual Functioning

         In order to establish that he is mentally retarded, a defendant must prove he has substantial

limitations in intellectual functioning.9 Intelligence quotient (IQ) testing is recognized as an important, but

not exclusive, indicator of intellectual functioning. Maldonado v. Thaler, — F. Supp. 2d — , 2009 WL

3074330, at *17 (S.D. Tex. 2009). It is generally accepted that an IQ score two standard deviations

below the mean, or a score of 70 where the mean is 100, is the threshold for mental retardation.10

(Olley, Tr. 19; Weinstein, Tr. 70; Suarez, Tr. 289). Although IQ testing theoretically results in a

standardized, objective measure of intelligence, there was sharp disagreement at the hearing regarding

the testing methods employed by Drs. Weinstein and Suarez which resulted in divergent IQ scores for




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         The defendant did not dispute that he bears the burden to prove mental retardation by a
preponderance of the evidence. (Tr. 4), See Davis, 611 F. Supp. 2d at 474 (defendant’s burden of
proof).
         10
           Some states, such as North Carolina, use an IQ of 70 as a prerequisite to a finding of mental
retardation. Larry v. Branker, 552 F.3d 356, 368 (4th Cir. 2009).


                                                   4
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the defendant.11 Given the Court’s factual findings below regarding the defendant’s adaptive skills, it is

not necessary to resolve the conflicting evidence regarding his intellectual functioning.

                 2.      Adaptive Skills and Functioning

        Even if the defendant were able to establish an IQ score within the range allowing for mental

retardation, he must also show significant limitations in adaptive skills. Atkins, 536 U.S. at 318. The

AAMR and APA definitions of mental retardation considered by the Supreme Court in Atkins require

present significant limitations in at least two of the following skill areas: communication, self-care, home

living, social skills, community use, self-direction, health and safety, functional academics, leisure, and

work. Id. at 309 n.3. These are the skills required for adults to function in their every day lives.

Although the focus of the definitions is the current level of functioning, Holladay v. Allen, 555 F.3d 1346,

1353 (11th Cir. 2009), courts have looked retrospectively at defendants’ lives because mental

retardation, if present, inhibits skills that should emerge during the developmental period, that is, birth to

age 18, United States v. Davis, 611 F. Supp. 2d 472, 476 (D. Md. 2009).

        Standardized tests, such as the APA’s Diagnosic and Statistical Manual, Fourth Edition (DSM-

IV), and the Adaptive Behavior Assessment System (ABAS), are available to measure adaptive skills

objectively. This case presents particular difficulty as Drs. Olley and Suarez each chose not to use such

tests because they are not standardized based on the El Salvadoran population. (Def. Ex. 2 at 5;



        11
           For example, Dr. Weinstein found the defendant’s full scale IQ score to be 66, below the
threshold for finding mental retardation, using the Spanish translation of the Wechsler Adult Intelligence
Scale III (WAIS III) standardized in Mexico. (Def. Ex. 14 at 1-2). Dr. Suarez administered the
Spanish translation of the WAIS III standardized in Puerto Rico and found the defendant’s full scale IQ
score to be 93, well above the mental retardation threshold. (Gov’t Ex. A3 at 14).

                                                       5



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Suarez, Tr. 34739). Instead, they interviewed the defendant and persons familiar with him to assess his

adaptive skills. Recognizing that “[t]he adaptive behavior prong is the most fact-intensive, and

subjective, part of the mental retardation inquiry,” Maldonado, — F. Supp. 2d —, 2009 WL 3074330,

at *33,12 the Court must distill from the record whether there is evidence of intellectual impairment that

produced “real-world disabling effects” in the defendant’s life, User’s Guide: Mental Retardation 24-25

(AAIDD, 2007), causing him to need “supports and protections,” Mental Retardation 33 (AAMR

2002).

                         a.       Communication

         Evidence regarding the defendant’s communication skills came through his interaction with Drs.

Olley, Weinstein, and Suarez; information reported by persons who know the defendant; and letters and

recorded telephone conversations of the defendant. In summary, the evidence does not show that the

defendant has a significant limitation in the ability to communicate, even though his writing reflects the fact

that he is uneducated.

         Dr. Olley testified that the defendant willingly answered questions and was able to provide

factual information about his life and family. (Tr. 43). Dr. Weinstein noted that the defendant has verbal

strengths. (Tr. at 163). Dr. Suarez testified at length regarding the information relayed to him by the

defendant about his personal and family history, his experience in jail, and his understanding of his case.

(Tr. 299-321). None of the doctors indicated any difficulty in communicating with the defendant.

         Others who know the defendant have likewise not experienced problems in their interactions



         12
             That court noted that the same evidence can be viewed by defense experts who conclude
the glass is half-empty and government experts who conclude it is half-full. Maldonado, — F. Supp. 2d
—, 2009 WL 3074330, at *34.

                                                       6

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with the defendant. The mother of his child in El Salvador knew the defendant before he came to the

United States. (Olley, Tr. 68). She told Dr. Olley that the defendant was responsible toward his child

and had treated her respectfully. (Id.). Each of the corrections officers interviewed by Dr. Suarez

reported that the defendant had been cooperative with them and made appropriate requests for things he

needed, despite his limited ability to speak English. (Gov. Ex. A3 at 19-23). One officer noted that he

observed the defendant teaching Spanish to other inmates. (Id. at 22).

        The government provided some of the defendant’s letters and telephone calls intercepted by jail

officials which had been decoded and translated.13 Dr. Olley described how the defendant used a code

when speaking that involved reversing syllables in words and a code in writing that involved letter

substitution. (Tr. 70-71). He also relayed that a translator told him that the defendant did not separate

words, that he spelled words incorrectly, and that there was no sequence to his thoughts. (Tr. 69). Dr.

Suarez found the defendant’s coded letter writing to be significant because it evidenced the defendant

had something in his mind that he wanted to say and was aware of the need to prevent other people

from reading the letters. (Tr. 366). Having reviewed the letters, the Court finds that the defendant is able

to communicate cogently in writing, including expressing feelings;14 giving directions to use a code when




        13
             The defendant did not claim someone else had written the letters.
        14
           In a letter postmarked September 8, 2009 , mailed under a different name, the defendant
wrote to Jamie Sandoval, a co-defendant, “Look they [his attorneys] are even going to have my dad
come so I can see him and so he can be present during the trial but I have been thinking that when they
sentence me that is going to mess with his head and I don’t want that.” (Letter JMU 148).

                                                     7
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writing;8 making jokes, even sexual innuendo;8 requesting legal intervention;8 and an understanding of

concepts, such as constitutional rights.9 It is also clear from the letters that the defendant read mail

directed to him. (Letter JMU 56).

        Accordingly, the evidence establishes that the defendant does not have significant limitations in

communication. Although his writing reflects his lack of formal education, he has the ability to

communicate in writing and orally so that others can understand the ideas he is conveying.

                         b.       Self-care

        Information about the defendant’s ability to care for himself came from the same people that

described his ability to communicate. Dr. Olley related that the defendant’s father said the defendant

lived with him until age 16. (Tr. 53). After that, the defendant worked for a building contractor and lived

with his family. (Id.). The defendant told Dr. Suarez that he quit that job after 18 months when he left El

Salvador to come to America. (Tr. 310). It is to be expected that the defendant would have lived with a

family during his childhood and teenage years. Except for the defendant’s father’s report that the



        8
        In a letter postmarked July 1, 2009, the defendant wrote to Carlos Figueroa, a co-defendant,
“Make yourself an ABC and send it within the letters and I am going to find it.” (Letter JMU 56).
        8
            Congratulating someone for finally responding to one of his letters, the defendant wrote, “You
responded to one of my letters and your prize is going to be A ONE EYED BIG HEAD DOLL Just
tell me how I can send it to you because that’s your prize I hope you enjoy it ha-ha-ha I hope you play
with it and give it little kisses on the little head where it has the eye ha-ha-ha.” (Letter JMU 22) (all
capital letters in original).
        8
             In a letter dated July 27, 2009, the defendant wrote the Consulate of El Salvador, “Well after
this little greeting I’ll move on to my next issue I am Alejandro E. Umaña, and I write to you to see if
you can help me with a case I am fighting in North Carolina in Mecklenburg County and I am afraid
they would like to give me the death penalty or life in prison for some crimes.” (Letter JMU 2).
        9
           In letter JMU 148, the defendant relates his attorneys’ strategy to argue that police violated
constitutional laws when he was interrogated.

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defendant had poor memory (Tr. 54), there is no evidence that he required special support in the area of

self-care prior to age 18.

        The only information about the defendant as an adult came from the defendant and his jailers.

Some courts have discounted the value of such evidence under the theories that persons with mild mental

retardation are likely to embellish their description of their skills to avoid stigma and that highly structured

environments, like jail, do not provide a realistic picture of how a person would function on his own.

Davis, 611 F. Supp. at 494-95. In the circumstances of this case, the Court credits the testimony of Dr.

Suarez about the defendant’s ability to care for himself as an adult because the details the defendant

provided are verified by other evidence. For example, the defendant reported that he drove himself

around the country, including from New York to Atlanta and from Greensboro to Charlotte. (Gov’t Ex.

A3 at 6). Dr. Olley testified that the defendant showed him on a map that Interstate 85 south is used to

go from Greensboro to Charlotte. (Tr. 108). The defendant reported a history of migraine headaches

since age 4 or 5, (Gov’t Ex. A3 at 7), and during the evidentiary hearing he experienced one and

vomited during a break, (Tr. 285).

        Accordingly, the Court finds that the defendant’s and correctional officers’ reports of his ability

to recognize his own needs and seek to have them met, Gov’t Ex. A3 at 7-9, 20-23), are credible and

persuasive. Thus, the defendant has not shown by a preponderance of the evidence that he has

substantial limitations in the area of self-care.

                          c.       Home Living

        As detailed above, Dr. Olley testified that before age 18, the defendant did not maintain his own

home, as would be expected. The only information at the hearing about the defendant’s home living

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after age 18 came from the defendant through Dr. Suarez. The defendant related that he has lived in

motels or shared a room with co-workers in North Carolina and Georgia which would cost

approximately $130 per week.10 (Gov’t Ex. A3 at 6). He liked to eat breakfast at fast food restaurants,

but when he had the ability to cook, he would make soup or combine what was available for a meal.

(Id.). He purchased clothes and basic items at discount or second-hand stores, but bought his shoes at

malls. (Id.). He washed his clothes by hand or at coin laundromat. (Id.). When he needed a telephone,

he used public phones, but at the time of his arrest in 2008, he had obtained a mobile phone. (Id.).

Given the correctional officers’ accounts of the defendant’s cleaning his cell, taking care of his clothes,

and using the telephone while in custody, (Gov. Ex. A3 at 20-22), the Court finds the defendant’s

statements to Dr. Suarez to be credible. Thus, the defendant has not proven that he has substantial

limitations in home living.

                          d.      Social Skills

        As summarized in the area of communication, the evidence shows that the defendant has the

ability to communicate effectively with others. Dr. Olley related that the family the defendant lived with

in El Salvador described his behavior around others as child-like. (Tr. 66). Dr. Olley opined that the

defendant joined the MS-13 gang out of naivete and was victimized by the gang. (Tr. 127). However,

Dr. Olley admitted that people in El Salvador refused to discuss the defendant’s involvement in the gang,

that he did not speak to any gang members to determine whether the defendant was a leader or

follower, and that he did not listen to any of the jail calls. (Tr. 53, 68, 127).


        10
           In-Town Suites currently advertises weekly rates in Atlanta, Georgia, as low as $149.99.
See http://www.intownsuites.com/detail_metro.asp?city=Atlanta.

                                                       10


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        The Court has reviewed the defendant’s interaction with others, reflected in his interviews with

law enforcement, telephone calls from jail, and letters, and finds that Dr. Olley’s opinion regarding the

defendant’s social skills is not persuasive. The Court finds that the evidence establishes the defendant’s

ability to respond to various social situations: he has been pleasant and cheerful with family and friends,

(Def. Ex. 2 at 7); he has been respectful to those in authority, (Gov’t Ex. A3 at 20-21); he has exercised

authority and given direction to others in MS-13, (Letter JMU 18); and he has responded with hostility

to those who opposed or threatened him, (Gov’t Ex. A3 at 13-14; Letter JMU 13). Therefore, the

defendant has not established that he has substantial limitations in social skills.

                         e.       Community Use

        The next area of consideration is use of community resources. Dr. Olley provided school

records from El Salvador showing that the defendant withdrew from school without completing the third

grade. (Def. Ex. 3). The official who provided the records was not at the school when the defendant

attended and, thus, could not state whether the defendant’s low grades and withdrawal were the result

of intellectual deficits or poor effort and supervision.11 (Tr. 94). There was no evidence of any other

community resources available to the defendant in El Salvador. The evidence about his use of

community resources in America came from the defendant himself. He told Dr. Suarez about sending

money to El Salvador via Western Union. (Gov’t Ex. A3 at 4). Also, he took his wife to the hospital in

a taxi when she was in labor and later took the child to the doctor on different occasions. (Id. at 5). He




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          The defendant told Dr. Suarez he dropped out after his grandmother died and there was no
one to supervise him. (Tr. 307).

                                                       11


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never obtained a driver’s license,12 but he purchased vehicles which he drove until he could no longer

afford them. (Id.). He said he never received any disability payments, (Id. at 6), but there was no

evidence that he sought such assistance or should have. Thus, the defendant has not proven he suffered

substantial limitations in using community resources.

                         f.       Self-direction

        As noted above, the Court is not persuaded by Dr. Olley’s theory that the defendant did not live

independently in El Salvador and that he joined a gang because he lacked the ability to direct himself.

Likewise, the Court finds that Dr. Olley’s opinion that the defendant’s travel from El Salvador to

California and then to New York was only accomplished at the direction of others, (Tr. 70), is not

supported by any evidence in the record. It was clear that the defendant traveled with another person

and that they took advice from people about how to cross international borders and reach their

destination, (Suarez, Tr. 300-302), but no evidence suggests that the defendant was led by the hand,

unable to make decisions. The defendant’s ability to travel across the country, as evidenced by his

traffic accident in Georgia and arrest in North Carolina, shows his ability to make decisions to pursue

employment or visit people and take the necessary steps to carry out a plan. Additionally, the

defendant’s letters reflect a choice not to give information to the police, even though he knew some gang

members were. (Letter dated June 16, 2009, to Carlos Figueroa). Therefore, the defendant has not

shown that he has substantial limitations in self-direction.

                         g.       Health and Safety


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             The defendant said he was able to obtain an identification card while in New York. (Suarez,
Tr. 300).

                                                      12


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        Evidence presented at the hearing shows that the defendant was aware of his needs regarding

health and safety. The defendant and people who knew him reported that he suffered from frequent

headaches. (Def. Ex. 2 at 7; Gov’t Ex. A3 at 7). After he was placed in jail, the defendant told medical

personnel about his head injury and headaches, along with other medical problems. (Gov’t Ex. A3 at 9).

He further reported that Tylenol usually helped with his headaches. (Id. at 10). The defendant stated,

and corrections officers confirmed, that he exercised while in custody, doing push-ups and sit-ups,

playing basketball, and walking or running. (Id. at 8, 20). Accordingly, the evidence does not show the

defendant had substantial limitations in maintaining his health and safety.

                         h.      Functional Academics

        A great deal of information was presented at the hearing regarding the defendant’s academic

skills. As noted above, the defendant did not complete the third grade, which the school official

informed Dr. Olley was very unusual. (Tr. 49). Yet, the defendant’s grades were not the lowest in the

class and it was not unusual for children in El Salvador to drop out of school to go to work. (Tr. 92-93).

The defendant himself reported that he quit going to school because of a lack of supervision by his

family. (Suarez, Tr. 307). The contractor who employed the defendant as a teenager said that he was

able to measure re-bar with a tape measure; however, when Dr. Olley asked the defendant to measure

objects with a regular ruler, he made mistakes.13 (Tr. 102-103). When Dr. Olley showed him a map,

the defendant was not able to locate Charlotte, North Carolina, but he was able to identify El Salvador

and the United States and describe the interstate used to travel between Greensboro, North Carolina,



        13
           Dr. Olley admitted the defendant’s mistakes using the ruler could be a sign of malingering.
(Tr. 104). In a letter, the defendant showed his awareness that the psychological testing by the doctors
was to see if he qualified for the death penalty. (Letter JMU 56).

                                                      13

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and Charlotte. (Tr. 106-108). The defendant’s letters reflect his lack of formal education, as shown by

misspellings and lack of punctuation, but they also show the ability to read and write at a level sufficient

to communicate with other adults.

        The defendant’s father described the defendant as generally having problems handling money,

and one of his employers said that he did not consider the defendant capable of handling money. (Olley,

Tr. 54, 59). Evidence from later in the defendant’s life, however, reflects that he progressed in the area

of mathematics and handling money. The defendant reported to Dr. Suarez that he helped organize a

soccer league in El Salvador, which involved hiring a referee. (Tr. 308). Not only did he remember the

amount paid to the referee, but he accurately related the exchange rate between El Salvadoran colones

and United States dollars. (Id.). Corrections officers observed the defendant using a computer kiosk for

checking his commissary account balance and placing orders. (Gov’t Ex. A3 at 20-21). In one of his

letters, the defendant wrote in detail about his commissary account and accurately did the math to figure

his balance.14

        While the evidence is mixed and presents a closer call than most of the other adaptive abilities,

the Court finds that the defendant progressed from the limitations present in his childhood and that the

preponderance of the evidence does not show that the defendant is currently substantially limited in


        14
             The defendant wrote:

        So he [defendant’s father] put in 22 dollars because I said it [telephone calling card]
        costs 20 but with taxes it comes out to 21.15 and that’s what he put in No little extra
        for some soup but no problem.

(Letter JMU 22).


                                                     14


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functional academic skills, such that he needs supports and protections.

                          i.      Leisure

        Evidence regarding the defendant’s leisure activity centered on his interest in soccer. The family

the defendant lived with in El Salvador reported that the defendant enjoyed music, dancing, and soccer.

(Olley, Tr. 66). The defendant told Dr. Suarez about being good at soccer, not being financially able to

play on a traveling soccer team, and organizing games, including hiring a referee and owning his own

cleats. (Tr. 307-308). He further reported playing card games, such as rummy, poker, and blackjack.

(Gov’t Ex. A3 at 8). Accordingly, the Court finds that the defendant has not show he has substantial

limitations enjoying leisure activities appropriate for his age.

                          j.      Work

        As with functional academics, the was a great deal of focus on the defendant’s work history at

the hearing. Dr. Olley chronicled the various jobs the defendant held or attempted prior to leaving El

Salvador with information from the defendant’s family and former employers. Dr. Suarez relayed the

defendant’s work history upon arrival in the United States from interviewing the defendant himself.

        The defendant’s father stated that the defendant failed at his first job with a shoemaker because

he was not able to learn what needed to be done. (Olley, Tr. 52). After attempting some other jobs, the

defendant held two positions for more than a year. (Id.). The first was working as a helper on a truck

that delivered Coke products when the defendant was 15 years old. (Id. at 52, 58). According to the

father and the employer, the defendant was not responsible for driving the truck or managing money, but




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simply assisted with carrying products from the truck to the store.15 (Id. at 58-59). The defendant’s

other job working for a building contractor began when he was about 17 years old. (Id. at 63). His role

was to assist a mason by carrying items, mixing cement, but also measuring and cutting re-bar. (Id. 63-

64).

        Dr. Olley opined that the defendant functioned in these jobs at the level of his capability which

was limited by mild mental retardation. (Tr. 101). However, he admitted that many American teenagers

perform similar entry-level roles. (Id. 102). Particularly when considering the defendant’s age at the time

he entered the work force and the context of the El Salvadoran job market, the Court finds that the

evidence does not establish that his limited role was related to any intellectual deficit. During his adult

working career, the defendant continued working, usually in the construction field, taking different jobs

depending on the opportunity. (Gov’t Ex. A3 at 5-6). Although there is no corroborating evidence to

support it, there is also no contradicting evidence regarding the defendant’s account of working in

various jobs digging ditches, washing cars, roofing and installing fixtures in houses, and painting and

building fences in the cities of New York, Atlanta, and Greensboro. (Id.).

        Courts have found that rote tasks can be mastered by mildly mentally retarded persons. Davis,

611 F. Supp. 2d at 505. While the defendant’s childhood and teenage employment reflects such types

of work, it is not necessarily attributable to intellectual deficits. His account of adult employment reflects

jobs that would require abilities beyond mastery of rote, repetitive tasks. Accordingly, the Court finds

that the defendant has not carried his burden to prove he currently has substantial limitations in the area


        15
          The defendant told Dr. Suarez he did learn to drive the manual transmission truck on rural
roads where there was little traffic. (Gov’t Ex. A3 at 4).

                                                      16


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of work.

                          k.      Additional Evidence

        Subsequent to the evidentiary hearing on November 30, the Court conducted the trial of co-

defendants in January 2010. Although the Court finds that the information presented at the Atkins

hearing is sufficient to find that the defendant does not have significant limitations in adaptive skills,

reliable evidence introduced during the trial supports that conclusion.16 For example, MS-13 gang

member Alexander Granados testified that the defendant wrote him a letter from jail wherein the

defendant identified two other gang members as snitches. (Doc. No. 907: Tr. 43).17 Juan Vela Garcia

described the defendant as one of the people sent to organize a group of MS-13 gang members in

Charlotte. (Doc. No. 906: Tr. 32).

        Another gang member, who was cooperating with the police, recorded a conversation with the

defendant immediately after the incident in Greensboro. According to the English interpretation of that

recording, the defendant explained how they had to high-tail it out of there because of something that

they did, that the victims started a beef with the hood, and that the victims thought the gang was a joke.

(Gov’t Trial Ex. 47A, Session 3 at 8-10). He offered to help the informant strike back at rival gang

members who had shot out the rear window of the informant’s car and to help the informant shorten his

.30-30 rifle by taking off its stock. (Id. 11, 14). He gave another gang member directions about

        16
            The trial evidence was subject to cross-examination by those sharing an interest with the
defendant as the Greensboro homicides were charged as overt acts of a RICO conspiracy and one of
the defendants was charged with being an accessory after the fact to murder in the aid of racketeering.
All the defendants were convicted of the RICO conspiracy and Defendant Rosales Lopez was
convicted of the accessory charge. (Doc. Nos. 842-847: Jury Verdicts).
        17
             Citations will be provided where transcripts are currently available.

                                                       17


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changing clothes and announced his own plan to wash his hands with urine. (Id. 20).18 When they

arrived at a club, the defendant asked whether he would be frisked going in asked where he could go

urinate. (Id. 22-25). According to the informant, the defendant asked him to smell the gun involved in

the shooting while they were in the bathroom of the club. (Id. at 26). The informant also described how

the defendant later attempted to get to the pistol hidden under a couch in a residence when a SWAT

team made entry to arrest the him.19

           Considering all of the evidence presented and definitions regarding adaptive skills, the Court

finds that the defendant has not shown by a preponderance of the evidence substantial limitations in the

areas identified by the AAMR and the APA as basic to independent living as an adult. There is no

evidence to suggest that the defendant required services and protections as an adult to compensate for

disabling intellectual deficiencies.20

                     3.      Manifestation Before Age 18

           The evidence was conflicting on whether any intellectual disability was manifest before age 18.

Dr. Olley testified that the defendant’s father told him about head injuries the defendant suffered when he

was 5 years old. (Tr. 68). According to the father, the defendant fell from a mango tree on one



           18
                The informant testified that it was their understanding that urine would remove gun powder
residue.
           19
                The pistol was later matched to the shooting in Greensboro.
           20
           The Court finds that Dr. Olley’s opinion that the gang provided such support and protection,
(Tr. 129-130), is unpersuasive. Dr. Olley did not base that opinion on any substantial information and
did not investigate the defendant’s role in the gang, as compared to other members, and candidly
admitted that lack of factual support. (Id.). On the contrary, the trial evidence showed that the
defendant was a respected veteran who helped give direction to gang members in Charlotte.

                                                        18


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occasion and hit his head on a piece of furniture a few days later. (Def. Ex. 2 at 8). The defendant,

himself, reported to Dr. Suarez that he fell and cut his head on a bottle between the ages of 4 and 6.

(Gov. Ex. A3 at 7). There was no evidence of the extent of any injury from contemporaneous medical

treatment in El Salvador.

        Dr. Merikangas opined that brain damage indicated in a November 2009 PET scan probably

resulted from a childhood injury, but admitted it could have been caused by a series of minor injuries,

such as fights or sports injuries. (Tr. 277, 283). Evidence was introduced that the defendant was

injured and lost consciousness in a head-on car accident in 2007, that he played soccer extensively, and

was involved in fighting in jail prior to the scan. (Tr. 316; Gov’t Ex. A3 at 7, 14). Additionally, Dr.

Merikangas’s opinion on the defendant’s mental retardation was not based on the PET scan, but rather

psychological testing done by others. (Tr. 277, 279). There is no evidence of any intelligence testing of

the defendant prior to age 18, and, as detailed above, details about the defendant’s intellectual

functioning prior to that time do not show mental retardation. Therefore, the third element of the AAMR

and APA’s definition was not proven by a preponderance of the evidence.

III.    CONCLUSION

        A finding of mental retardation requires proof of all three elements of the AAMR and the APA’s

definition. Here, the evidence on the first element involving intellectual functioning is mixed, and the

second or third elements involving adaptive skills and onset before age 18 were not proven by a

preponderance of the evidence.

        IT IS, THEREFORE, ORDERED that the defendant’s motion to declare him ineligible for

the death penalty (Doc. No. 690) is DENIED.

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                                   Signed: March 19, 2010




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